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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
GREGORY MARTHALER, ) Case No. 06 cv 3332
)
Plaintiff, ) Judge Kennelly
)
GLENBARD SCHOOL DISTRICT #87 ) Magistrate Judge Nolan
)
)
Defendant. )

MEMORANDUM OF LAW IN SUPPORT OF
MOTION TO BAR PLAINTIFF’S EXPERT OPINIONS

Defendant, BOARD OF EDUCATION OF GLENBARD TOWNSHIP HIGH
SCHGOL DISTRICT 87, improperly sued as GLENBARD SCHOOL DISTRICT #87
(“Glenbard”), submits this Memorandum of Law ln Support of Its Motion to Bar
Plaintiff’ s Expert Opinions.

INTRODUCTION

ln this employment discrimination case, arising in part under the Americans With
Disabilities Act (“ADA”), Plaintiff, Gregory Marthaler (“Plaintiff’), seeks to have expert
opinions admitted into evidence concerning his status as an alcoholic and how his
alcoholism has impacted certain major life activities Dr. Robert F. Smith (“Dr. Smith”),
the retained expert, is neither a psychiatrist nor an addictionologist. He is a trauma room
doctor. The proffered testimony is not reliable under Rule 702, as amended to
incorporate the Supreme Court’s decisions in Daubert and Kumho Tire. Moreover, Dr.
Smith’s expert report is patently deficient under Rule 26(a)(2)(B) because it fails to state
the bases and reasons for Dr. Smith’s conclusions For these reasons, the motion to bar

Dr. Smith from testifying at trial should be granted

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ARGUMENT

I. Dr. Smith’s Opinions Do Not Meet the Daubert and Kumho Tire
Requirements Under Rule 702 Because They Lack Indicia of Reliability.

Dr. Smith’s proffered opinions are subject to Federal Rule of Evidence 702. Rule
702, as amended to reflect the United States Supreme Court’s opinion in Daubert v.
Merrell DoW Pharmaceuticals, Inc., 509 U.S. 579 (1993), provides that expert testimony
is admissible if offered by “a Witness qualified as an expert by knowledge, skill,
experience, training or education.” Fed. R. Evid. 702. The second part of Rule 702
incorporates the reliability analysis from QambM_ and mandates that expert testimony be
based upon sufficient facts or data, be the product of reliable principles and methods and
demonstrate that the expert has applied the principles and methods reliably to the facts of
the case. Ld. The “gatekeeping” function established in M applies to all kinds of
expert testimony, not just that based on scientific principles Kumho Tire Co., Ltd. v.
Cannichael, 526 U.S. 137, 147 (1999).

The Seventh Circuit uses two evaluative criteria to determine Whether expert
testimony is reliable under Daubert and Kumho Tire: “Whether the expert is qualified in
the relevant field and Whether the methodology underlying the expert’s conclusions is
reliable.” Masters v. Hesston Corp., 291 F.3d 985, 991 (7th Cir. 2002); Dewick v.
Maylag Corp., 324 F. Supp. 2d 894, 897 (N.D. lll. 2004). ln this regard, the court must
be certain that the expert possesses the “level of intellectual rigor that characterizes the
practice of an expert in the relevant field,” and “at a minimum . . . possess[es] skill or
knowledge greater than the average layman.” Kumho Tire Co., 526 U.S. at 152. As the
Seventh Circuit has stated, “because an expert ’s qualifications bear upon whether he can

ojj‘"er special knowledge to the jury, the Daubert framework permits - indeed, encourages

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~ a district judge to consider the qualifications of the Witness.” Ancho v. Pentek Corp.,
157 F.3d 512, 518 (7th Cir. 1998) (emphasis in original). Under the governing analytical
framework, Dr. Smith’s opinions do not satisfy the __Dlu_bert-Kumho Tire reliability
inquiry.

A. Dr. Smith is Not Qualified to Opine on Plaintiff’s Alcoholism.

By his own admissions Dr. Smith is not qualified in the pertinent field to opine
on Plaintiff’ s alcoholism and its repercussions on identified major life activities Dr.
Smith is not currently practicing medicine. S_e§ Motion to Exclude, Ex. C (Smith Dep.
Tr., p. 7:11). Rather, he is selling nutritional supplements Ld., Ex. C (Smith Dep. Tr., at
pp. 6: 16-24; 7: 1-10). Dr. Smith admits that his field of expertise is internal medicine,
emergency medicine and trauma Ld., Ex. C (Smith Dep. Tr., at pp. 8: 23-24; 9: 15-23).
He admits that he is not an expert in psychiatry or addictionology. I_cL, Ex. C (Smith Dep.
Tr., at pp. 9: 24; l(): 1-10). Despite these admissions, Plaintiff is seeking to have Dr.
Smith opine on issues directly related to an addiction ~ alcoholism ~ and its impact on his
daily life activities The opinions of a trauma room doctor lack credibility and are
unreliable Nothing in Dr. Smith’s qualifications suggests that he Would be qualified to
render expert testimony on the opinions contained in his report. Rule 26(a)(2)(B)
mandates Dr. Smith to list all of his qualifications relative to the expert opinions he is
issuing on alcoholism

ln his expert repoit, Dr. Smith has listed a series of papers, presentations
abstracts and professional experience, none of Which even tangentially relates to
authoritative studies or Work experience as a professional treating alcoholics or addicts

As one recent federal court has stated, if an expert's area of experience “is adjacent to, but

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not actually encompassing, the subject matter of his testimony, he may be deemed
unqualified.” Plaver v. Motiva Enters, LLC, 2006 U.S. Dist. LEXIS 2288 at *5 (D.N.J.
Jan. 20, 2006). Here, Dr. Smith’s field of expertise is not even adjacent to treating
alcoholism and determining how an addiction can impact individual’s daily life functions

B. Dr. Smith’s Methodology is Unreliable.

Under the second part of the _l\_/IM§ analysis, Dr. Smith’s methodology for
opining on the effect of Plaintiff’ s alcohol use on certain of his major life activities is
unreliable Dr. Smith provides nothing more than a brief synopsis of what Plaintiff told
him concerning alcohol’s impact on major life activities lt is apparent from reading Dr.
Smith’s reports that he blindly accepted Plaintiff s recitation of the facts without
employing a battery of tests to verify Plaintiffs own account of his personal history. Dr.
Smith has given no indication at all that he has factored in or discounted other potential
contributing causes as to why certain life activities may be impacted.

lt is axiomatic that proffered expert testimony must be helpful and assist the jury
in understanding the evidence or determining a disputed fact. _Dau_ber_t, 509 U.S. at 591;
Cummins v. Lyle Indus, 93 F.3d 362, 368 (7th Cir. 1996). Dr. Smith’s opinions on major
life activity impact are simple conclusions based entirely on Plaintist own words,
testimony that can easily be provided by Plaintiff based on his own personal
observations Without any sort of scientific or experiential analysis to support these
conclusions, Dr. Smith’s opinions lack proper proof of reliability and fail to meet
admissibility standards under Rule 702. Huev v. United Parcel Serv., lnc., 165 F.3d
1084, 1087 (7th Cir. 1999) (stating that an expert must “substantiate his opinion;

providing only an ultimate conclusion with no analysis is meaningless.”).

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II. Dr. Smith’s Opinions Concerning the Impact of Plaintiff’s Purported
Alcoholism on Major Life Activities Do Not Contain Sufficient Bases for the
Conclusions Drawn and Are Ilnproper Under Rule 26(a)(2)(B).

Two rules serve to preclude the admission of Dr. Smith’s opinions concerning the
effect of Plaintiff’s alleged alcoholism on major life activities Federal Rule 26(a)(2)(B)
governs the scope of an opinion witness’s report, while Rule 37(0)(1) contains the
appropriate sanction for a non-compliant report. ln this case, Dr. Smith has not met his
obligation to state the bases and reasons for the opinion he has proffered with respect to
the impact of alcoholism on Plaintiff s major life activities Accordingly, those opinions
should be excluded under Rule 37.

Rule 26(a)(2)(B) provides that the report of an expert witness “shall contain a
complete statement of all opinions to be expressed and the basis and reasons therefor.”
FRCP 26(a)(2)(B). The use of the term “shall” leaves “no room for waffling.”
C)sterhouse v. Grover, 2006 U.S. Dist. LEXIS 50282 at *6 (S.D. lll. July 20, 2006). The
Seventh Circuit has recently articulated the nature of Rule 26(a)(2)(B) and the obligations
that experts must meet in order to have their opinions admitted at trial:

Rule 26(a) expert reports must be “detailed and complete.” A complete

report must include the substance of the testimony which an expert is

expected to give on direct examination together with the reasons therefor.

The report must be complete such that opposing counsel is not forced to

depose an expert in order to avoid ambush at trial; and moreover the report

must be sufficiently complete so as to shorten or decrease the need for

expert depositions and thus to conserve resources Expert reports must not

be sketchy, vague or preliminary in nature. Disclosures must not be used

as a means to extend a discovery deadline Expert reports must include

“how” and “why” the expert reached a particular result, not merely the

expert’s conclusory opinions

Salgado bv Salgado v. General Motors Corp., 150 F.3d 735, 742 n.6 (7th Cir. 1998)

(citations omitted). Judge Shadur has explained the policy reasons behind the mandates

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of Rule 26(a) and why opponents should not be forced to take a deposition to learn the
precise nature and reasoning of opinions entered by an expert. §§_e Dunkin’ Donuts Inc.

v. N.A.S.T. lnc., 2005 U.S. Dist. LEXIS 16703 at *4-6 (N.D. lll. Aug. 10, 2005).

 

With respect to Dr. Smith’s opinions concerning the impact of alcoholism on
Plaintiff`s major life activities, the report flouts the purpose of the rule. Glenbard was
forced to depose Dr. Smith to ascertain how he drew the conclusion relative to the effects
of the claimed disability, and why he reached this opinion. Nothing in the report even
comes close to stating the “how” and “why” that are required to be set forth in detail.
Simply put, Dr. Smith’s report required a penetrating, lengthy deposition to ascertain the
reasons for his opinion, something which may have once been acceptable before Rule 26
was amended but which is not now.

Taking the report’s disclosures in the light most favorable to Plaintiff, all Dr.
Smith did in terms of setting forth a basis for his opinions related to major life activity
impact is to recite a brief history taken from an interview with Plaintiff himself, and
review an incomplete set of Plaintiff s medical records As set forth above, Dr. Smith is
not an addictionologist or a psychiatrist, but rather a trauma room doctor. His credentials
attached to his report give no indication how he would be qualified to opine on
alcoholism’s impact with respect to Plaintiff s major life activities Glenbard still cannot
determine from the vague and sketchy report provided just how Dr. Smith came to his
conclusions ln this respect, the opinions must be excluded since Plaintiff, not a hired
expert, is the appropriate person to relate facts that could demonstrate to the Court how
his claimed alcoholism impacted his various life activities Since Dr. Smith is just

reciting what Plaintiff told him, it would be duplicative and prejudicial to have a trauma

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room physician carry the imprimatur of expertise into the courtroom and explain for the
trier of fact how alcohol has played a role in Plaintiff’s life.

An expert’s report must contain more than mere conclusions Minasian v.
Standard Chartered Bank, PLC, 109 F.3d 1212, 1216 (7th Cir. 1997) (finding that an
expert’s report that does nothing to substantiate the expert’s opinion is “worthless” and
inadmissible); Griffith v. Northeast lll. Reg. Comrnuter R.R. Corp., 233 F.R.D. 513, 519
(N.D. lll. 2006) (striking expert report when doctor did not disclose basis and reasons for
his opinions). ln this case, Dr, Smith’s opinions concerning the effect of alcoholism on
Plaintiff`s life activities contain only conclusions and a paucity of supporting reasons As
such, they should be stricken and barred under Rule 37(c)(l).

CONCLUSION

Nothing under the ADA requires Plaintiff to employ an expert witness to
demonstrate his claimed disability or its effect on major life activities §§ Toyota Motor
Mfg., Kentuckv, lnc. v. Willianis, 534 U.S. 184, 198 (2002) (noting ability of ADA
plaintiff to prove disabling condition under the Act based on personal experiences).
However, admitting unreliable testimony from a physician who is admittedly not versed
in addiction treatment and psychiatry will have a prejudicial impact on Glenbard at trial,
cloaking Plaintiff` s personal experiences with the stamp of an expert whose testimony
does nothing to help the jury understand a complex medical issue. Reduced to its
essentials, Plaintiff has hired an expert to recite simply what he told him. Dr. Smith

never treated Plaintiff and has no academic or professional credentials which enable him

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to enter the opinions set forth in his report. The opinions and testimony of Dr. Smith
should be barred for the reasons set forth above.

Respectfully submitted,

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PROOF OF SERVICE

In accordance with LR 5.9 and with the General Order on Electronic Case Filing
and subject to the provisions of Fed. R. Civ. P. 5(b)(3), the Notice of Electronic Filing
that is issued through the court’s Electronic Case Filing System will constitute service
under Fed, R.Civ.P. 5(b)(2)(D) as to all Filing Users, which Richard J. Gonzalez is so
identified on May 24, 2007.

By: /s/Ross I. Molho

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